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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOEY KIMBROUGH,                                            Case No. 1:22-cv-01993-TWP-MJD

                Plaintiff,                                  DEFENDANT AMERICAN
                                                            EXPRESS NATIONAL BANK’S
        v.                                                  RESPONSE IN OPPOSITION TO
                                                            PLAINTIFF’S MOTION FOR
 AMERICAN EXPRESS COMPANY AKA                               SANCTIONS AGAINST
 AMERICAN EXPRESS NATIONAL BANK
                                                            ATTORNEY BRIAN FRONTINO
 and                                                        AND STROOCK & STROOCK &
                                                            LAVAN LLP
 TRANS UNION LLC

                Defendants.                           /

        Defendant American Express National Bank (“American Express”) files this Response in

 Opposition to Plaintiff’s Motion for Sanctions Against Attorney Brian Frontino and Stroock &

 Stroock & Lavan LLP (the “Motion”) [ECF No. 28] and in support thereof states as follows:

        1.      Plaintiff Joey Kimbrough (“Kimbrough”) seeks sanctions against the law firm

 Stroock & Stroock & Lavan, LLP (“Stroock”), and attorney Brian Frontino (“Frontino”),

 previously a partner at Stroock. 1

        2.      In support of the Motion, Kimbrough argues that American Express “was

 unrepresented by counsel from at least May 11th, 2023, until June 9th, 2023, due to lapses in

 admitting counsel to practice in the Southern District of Indiana.” See Mot. ¶ 3. As a result of that

 purported “lapse,” Stroock and Frontino ostensibly violated a “duty of care” to American Express,

 to the Court, and to Kimbrough himself. See id. ¶ 4. Finally, Kimbrough argues that he “has been




 1
  Undersigned counsel, now with the law firm Steptoe & Johnson LLP, were formerly associated
 with Stroock.
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 prejudiced by not being able to serve Discovery Requests on Defendant [American Express]

 because of the actions of [Frontino] and [Stroock].” See id. ¶ 7.

        3.      First, neither American Express nor this Court has been prejudiced by any of the

 alleged actions of Frontino or Stroock. Even if Kimbrough had standing to challenge the duties

 owed to American Express by its counsel (which he does not), the record clearly shows that

 Frontino entered an appearance on behalf of American Express on December 27, 2022. [ECF No.

 15]. Subsequently, undersigned counsel, Adam Hoock and Stephen Newman, entered appearances

 in June 2023 following the admission process for this Court. [ECF Nos. 23 & 24]. And Stroock

 continued to represent American Express uninterrupted during that time. 2 Indeed, Kimbrough was

 in communication with attorneys at Stroock, including undersigned counsel, regarding issues with

 the service of various discovery requests that he attempted to serve by Dropbox.

        4.      Second, Kimbrough likewise has not been prejudiced. Just days after this Court

 entered the Scheduling Order [ECF No. 19], Kimbrough filed a Motion for Summary Judgment

 [ECF No. 20]. Given its contention that Kimbrough’s dispute must be resolved in arbitration, rather

 than before this Court, American Express (without opposition from Kimbrough) moved for an

 extension of time to respond to the Motion for Summary Judgment, which the Court granted “until

 such time as the Court has ruled on the issue of whether Plaintiff is required to arbitrate this

 dispute.” [ECF No. 26]. Kimbrough fails to explain how any actions by Frontino or Stroock

 prejudiced him given that (1) he has already moved for summary judgment and (2) the Court has

 indicated that it must decide whether this dispute properly belongs in arbitration.



 2
   While Frontino remained counsel of record until undersigned counsel filed a notice of
 appearance, Frontino’s failure to be withdrawn from this case subsequently was an oversight.
 Should the Court require Frontino’s formal withdrawal from this matter, undersigned will prepare
 and file the appropriate papers.

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        5.      Further, Kimbrough’s contention that he was prejudiced by not being able to serve

 discovery requests is belied by the fact that he did, in fact, serve discovery requests on American

 Express on June 13, 2023, after various correspondence and conversations with attorneys at

 Stroock, including undersigned counsel. On June 21, 2023, Kimbrough, by email, then

 subsequently agreed to an extension of time for American Express to respond to those discovery

 requests when he also agreed to American Express’s aforementioned request for an extension of

 time to respond to his Motion for Summary Judgment.

        6.      In sum, no facts in the Motion support an entry of sanctions against Frontino or

 Stroock, as Kimbrough identifies no misconduct, no breach of duty of care to American Express,

 and no violation of professional ethics or the standards of professional conduct.

        WHEREFORE, American Express respectfully requests the Court deny Plaintiff’s Motion

 for Sanctions Against Attorney Brian Frontino and Stroock & Stroock & Lavan LLP.



        Dated: August 16, 2023.               Respectfully submitted,

                                              By:   /s/ Adam R. Hoock
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                                                    National Bank



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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 16, 2023, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system and certify that a true and correct copy of

 the foregoing was provided to all parties and counsel of record.

                                                       /s/ Adam R. Hoock
                                                       Adam R. Hoock




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